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                                STATEMENT                            BY: WHITFIELD, J.
The Constitution of Florida contains the following:
"The Legislature shall establish a uniform system of county and municipal government * * *." Sec. 24, Art. III.
"The Legislature shall have power to establish, and to abolish, municipalities, to provide for their government, to prescribe their jurisdiction and powers, and to alter or amend the same at any time. When any municipality shall be abolished, provision shall be made for the protection of its creditors." Sec. 8, Art. VIII, See amended Sec. 6, Art. IX, quoted below.
"The Legislature shall authorize the several counties and incorporated cities or towns in the State to assess and impose taxes for county and municipal purposes, and for no other purposes, and all property shall be taxed upon the principles established for State taxation. But the cities and incorporated towns shall make their own assessments for municipal purposes upon the property within their limits. The Legislature may also provide for levying a special capitation tax, and a tax on licenses. But the capitation tax shall not exceed one dollar a year and shall be applied exclusively to common school purposes." Sec. 5, Art. IX.
"Each law enacted in the Legislature shall embrace but one subject and matter properly connected therewith, which subject shall be briefly expressed in the title; and no law shall be amended or revised by reference to its title only; but in such case the Act, as revised, or section, as amended, shall be re-enacted and published at length." Sec. 16, Art. III. *Page 341 
"All courts in this State shall be open, so that every person for any injury done him in his lands, goods, person or reputation shall have remedy, by due course of law, and right and justice shall be administered without sale, denial or delay." Sec. 4, Decl. of Rts.
"Every male person of the age of twenty-one years and upwards that shall, at the time of registration, be a citizen of the United States, and that shall have resided and had his habitation, domicile, home and place of permanent abode in Florida for one year and in the county for six months, shall in such county be deemed a qualified elector at all elections under this Constitution. Naturalized citizens of the United States at the time of and before registration shall produce to the registration officers his certificate of naturalization or a duly certified copy thereof." Sec. 1, Art. VI, Adopted 1894.
(The word "male" in the first line of this section was automatically eliminated by the dominant force of the 19th Amendment to the Federal Constitution, Jan. 29, 1919. State, exrel., v. Gray, 107 Fla. 73, 144 So.2d 349).
"The Legislature shall have power to provide for issuing State bonds only for the purpose of repelling invasion or suppressing insurrection, and the counties, districts or municipalities of the State of Florida shall have power to issue bonds only after the same shall have been approved by a majority of the votes cast in an election in which a majority of the freeholders who are qualified electors residing in such counties, districts, or municipalities shall participate, to be held in the manner to be prescribed by law; but the provisions of this law shall not apply to the refunding of bonds issued exclusively for the purpose of refunding of the bonds or the interest thereon of such counties, districts, or municipalities." Sec. 6, Art. IX, as amended in 1930. *Page 342 
The title and Sections 1 and 2 of Chapter 11301, Acts of 1925, are as follows:
"AN ACT to Establish the Territorial Limits of the City of Winter Haven, Florida; to Abolish the Town of Florence Villa Within the Proposed New Corporate Limits of the said City of Winter Haven; to Provide for the Succession by the City of Winter Haven to the Ownership of all Property and Assets of said Town of Florence Villa and the Liability of said City of Winter Haven for all Debts, Obligations and Franchises of said Town of Florence Villa.
"Be It Enacted by the Legislature of the State of Florida:
"Section 1. The City of Winter Haven, a municipal corporation under the laws of the State of Florida, shall include and have jurisdiction over all the territory in Polk County, Florida, included in the following boundaries, to-wit:
"Beginning at the northeast (NE) corner of the Southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section Fifteen (15), Township Twenty-eight (28) south, Range Twenty-six (26) east, running thence south to the southwest (SW) corner of the northeast quarter (NE 1/4) of the northeast quarter (NE 1/4) of Section Three (3), Township Twenty-nine (29) South, Range Twenty-six (26) east; thence west two and one-half miles more or less, to the western boundary of the Atlantic Coast Line Railway right-of-way; thence southwesterly along said right-of-way line to a point on the southern boundary of the southwest quarter. (SW 1/4) of the northwest quarter (NW1 /4) of Section Five (5), Township Twenty-nine (29) south, Range Twenty-six (26) east; thence west to the southwest (SW) corner of the southeast quarter (SE 1/4) of the northeast quarter (NE 1/4) of Section Six (6), Township Twenty-nine (29) south, Range Twenty-six (26) east; thence north to the northeast (NE) corner of the *Page 343 
southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section Six (6), Township Twenty-nine (29) south, Range Twenty-six (26) east; thence west to the northeast (NE) corner of the southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section One (1), Township Twenty-nine (29) south, Range Twenty-five (25) east; thence north to the northeast (NE) corner of the northwest quarter (NW 1/4) of the northeast quarter (NE 1/4) of Section Twenty-five (25), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence west to a point six hundred sixty (660) feet west of the southeast (SE) corner of the southeast quarter (SE 1/4) of the southwest quarter (SW 1/4) of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five east; thence north to the southern boundary of the northeast quarter (NE 1/4) of the southwest quarter (SW 1/4) of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five (25) East; thence east to the southwest (SW) corner of the northwest quarter (NW 1/4) of the southeast quarter (SE 1/4) of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence north to the northwest (NW) corner of the northwest quarter (NW 1/4) of the southeast quarter (SE 1/4) of Section Twenty-four (24), Township Twenty-eight (28) South, Range Twenty-five (25) east; thence east to the southeast (SE) corner of the southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence north to the northeast (NE) corner of the southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence west to the northwest (NW) corner of the southwest quarter (SW 1/4) of *Page 344 
the northwest quarter (NW 1/4) of Section Twenty-four (24), Township Twenty-eight (28) South, Range Twenty-five (25) east; thence north to the northwest (NW) corner of Section Twenty-four (24), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence west to the southwest (SW) corner of the southeast quarter (SE 1/4) of the southeast quarter (SE 1/4) of Section Fourteen (14), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence north to the northwest (NW) corner of the northeast quarter (NE 1/4) of the northeast quarter (NE 1/4) of Section Fourteen (14), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence east to the northeast (NE) corner of Section Fourteen (14), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence south to the northeast (NE) corner of the southeast quarter (SE 1/4) of the northeast quarter (NE 1/4) of Section Fourteen (14), Township Twenty-eight (28), south, Range Twenty-five (25) east; thence east to the Auburndale-Florence Villa Road; thence in a southerly and easterly direction along said road to a point on the eastern boundary of the northwest quarter (NW 1/4) of the southeast quarter (SE 1/4) of Section Thirteen (13), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence north to the northeast (NE) corner of the southwest quarter (SW 1/4) of the northeast quarter (NE 1/4) of Section Thirteen (13), Township Twenty-eight (28) south, Range Twenty-five (25) east; thence east to point of beginning.
"Sec. 2. The inhabitants comprehended within said territory shall be, and they are hereby constituted a body corporate and politic, with the right to use and exercise all the powers and privileges described and set forth in the charter of the City of Winter Haven, heretofore granted to said City and enacted by an Act of the Legislature of *Page 345 
the State of Florida, Regular Session of 1925, and all powers and privileges granted to said City by any special Act or Acts of the Legislature of the State of Florida, and by the provisions of the General Statute Law of the State, relative to cities and town not in conflict with the said charter of said City."
Sections 2935 (1825) and 2936 (1826) C.G.L., contain the following:
"It shall be lawful for the male inhabitants of any hamlet, village, or town in this State, not less than twenty-five in number, who shall have the qualifications hereinafter prescribed, to establish for themselves a municipal government with corporate powers and privileges as hereinafter provided. (Ch. 2047, Acts 1875, Sec. 1.)"
"Whenever any municipal government is established, and it shall appear that there are three hundred registered voters within the limits hereby to be designated, it shall be and the same is hereby incorporated and designated as a city, entitled to the privileges of a city. All municipal governments having a less number of voters than those named above shall be and the same are hereby designated and declared incorporated towns, entitled to the privileges and rights of incorporated towns. (Ch. 1688, Acts 1869, Sec. 3.)
Other sections of the general statutes of the State, under Section 24, Article III, of the Constitution, provide the method to be pursued in the establishment of municipalities by the electors of a community and also define the powers, duties and franchises of municipalities to be applicable when not otherwise provided by law under Section 8, Article VIII. See Sanders v. Howell, 73 Fla. 563, 74 So.2d 802; St. Petersburg v. Pinellas County Power Co., 87 Fla. 315, 100 So.2d 509; State, ex rel., v. Burr, 79 Fla. 290, 84 So.2d 61; Munn v. Finger, 66 Fla. 572,64 So.2d 271; Town of Enterprise v. State, 29 Fla. 128, 10 So.2d 740. *Page 346 
Chapter 11299, Acts of 1925, contains the following:
"Sec. 88. Bonds. That the City Commission shall have the power to provide by ordinance for the issue of negotiable bonds of said City for the purpose of constructing or purchasing and maintaining, operating, improving and extending the water works, electric light and power plant and constructing public buildings for said City; and for grading, curbing, paving and draining the streets, avenues and thoroughfares of said City; and to provide a park or parks, and improve the same; and for the establishment of a municipal gas plant; and for the establishment of hospitals; and for funding any pre-existing bonded indebtedness; but negotiable bonds of said City shall never be issued in a greater amount than ten per cent of the assessed valuation of the real and personal property of said City; ***"
"Sec. 62. Levies. The City of Winter Haven shall have power to levy taxes each year for the ordinary purposes of the municipality and for the maintenance and repairs of its property, streets, public works and hospitals; provided that such levy shall be at a rate not to exceed ten mills on the assessed valuation of the taxable property within its limits. * * *
"Sec. 63. Special Tax. The City of Winter Haven shall also levy and collect annually upon its taxable property aforesaid such sums as may be necessary to pay principal and interest on the indebtedness of the City and to pay the bonds of the City already issued, or any bonds which may be issued in accordance with law."
Section 24, Article III, of the Constitution, as amended in 1934, is not self executing, and no statutes have been enacted to make the amendment to the section operative or effective. State v. Alsop, 120 Fla. 628, 163 So.2d 80; State v. Jones, 121 Fla. 216,163 So.2d 590; State v. Town *Page 347 
of Belle Glade, 121 Fla. 200, 163 So.2d 564; State v. Emerson,126 Fla. 576, 171 So.2d 663. Until enabling statutes are duly enacted, the organic section is effective only as it was before the amendment.
The City of Winter Haven, under its Charter Act, Chapter 11299, and under the prima facie valid and presumably valid provisions of Chapter 11301, Acts of 1925, exercised municipal governmental jurisdiction and authority over the entire city area as described in Chapter 11301; and during a period of years, apparently without a contest of authority, issued bonds of the city under its Charter Act, Chapter 11299, to be paid by taxation upon lands in the city as provided by the city Charter Act. The bonds were sold to bona fide purchasers after being validated by judicial decrees pursuant to statute, all citizens and taxpayers of the city being by statute made parties to the suit, and the bond proceeds were used by the city for authorized municipal public improvements in the city, some of such proceeds being used in the area added by Chapter 11301, before the quo warranto judgment ousted the jurisdiction of the city from the added area in which the plaintiff's land is located. This gave the city de facto
jurisdiction and presumptively de jure jurisdiction over all the areas described in Chapter 11301, and de jure jurisdiction over all the areas that were not subject to the judgment of ouster in the quo warranto proceedings, with de facto jurisdiction over the area covered by the quo warranto judgment of ouster. See City of Winter Haven v. Gillespie, 84 F.2d 285.
The validation proceedings became res adjudicata as to the validity of the bonds as against the city and its citizens and taxpayers. The invalidity of the portion of Chapter 11301 which included the unincorporated added area in the city limits, does not appear on the face of the statute itself. It does not appear that such invalidity was in any way referred *Page 348 
to in the record of the proceedings validating the bonds or in issuing the bonds, or that the plaintiff or any citizen or any other taxpayer of the city or in the added area, challenged the validity of the bonds before they were issued, or challenged the validating proceedings or the use of the bond proceeds for public improvements in the city, some of the improvements being in the area afterwards excluded from the de jure jurisdiction of the city by the quo warranto judgment of ouster. Plaintiff waived its rights by acquiescence, even if it is not otherwise bound, because of the facts above stated. See 87 A.L.R. note 706.
In the course of the opinion in this case, numerous cases are cited, and it will be helpful to indicate here the essential points involved in some of those cases.
In the L'Engle case, 40 Fla. 392, 24 So.2d 539; the Brown case,61 Fla. 508, 54 So.2d 716; the Nuveen case, 88 Fla. 249,102 So.2d 739; 37 L.R.A. 1298; the Weinberger case, 93 Fla. 470,112 So.2d 253, and other like cases, the illegality of the statutes involved appeared by the face of the statutes, and the provisions of the Constitution violated by the statutes related to the power of the Legislature as to the subject matter of the statutes, and did not, as here, relate merely to the form and manner of including the land in the city limits.
In the Holly Hill case, 128 Fla. 385, 174 So.2d 818, and other like cases, the statutes reducing the city limits after authorized municipal bonds were legally issued and the proceeds used for authorized municipal purposes, violated the obligation of the bond contracts, which is forbidden by the State and Federal constitutions.
In the Lake Placid case, 97 Fla. 127, 120 So.2d 361, the charter statute was prima facie and presumptively valid, and while the Town of Lake Placid was exercising municipal jurisdiction and authority over the lands in the town, *Page 349 
the municipal bonds were to be issued pursuant to statutory authority in the presumably valid charter statute, and were validated before action was brought in which the city was by quo warranto proceedings ousted of its presumed de jure municipal existence and jurisdiction over the lands. By virtue of the facts stated, the town had de facto jurisdiction and authority to levy and collect taxes to pay bonds which had been validated by judicial decrees under statutory jurisdiction, before the judgment of ouster was rendered in quo warranto proceedings. The decrees validated the bonds when the statute establishing the municipality and authorizing the issue and use of the bonds was prima facie and presumably valid, and the statutory power of the municipality to tax the lands in the municipality to pay city obligations including the bonds was prima facie and presumably valid. It at least was not patently invalid on its face. The enormity of the area included in the municipality considered in connection with the very small population and other matters affecting the validity of the municipal charter had to be shownaliunde in the quo warranto proceedings in which a judgment of ouster was rendered against the town. State v. Town of Lake Placid, 121 Fla. 839, 164 So.2d 531; State v. Town of Lake Placid,117 Fla. 874, 158 So.2d 497; State v. Town of Lake Placid, 109 Fla. 419,  147 So.2d 468. This gave the bonds a status as property protected by organic law; and the jurisdiction exerted over the land under the presumably valid statute gave the municipality defacto jurisdiction and power to issue and used the validated bonds for authorized municipal purposes and to tax the lands to pay the bonds and also to pay proper operating expenses before the ouster judgment. No patent invalidity in the statute appeared on its face and no invalidity of the bonds appears on their face or in the record of the bond validating *Page 350 
or bond issuing proceedings, and no lack of good faith in the use or sale of the bonds is made to appear that estops bona fide
holders of the bonds. See State v. Rodes, 115 Fla. 259,151 So.2d 289. See also State v. Ryan, 118 Fla. 42, 151 So.2d 416, 718, 158 So.2d 62.
In Smith v. Amidon, 102 Fla. 492, 136 So.2d 556, and Pierson v. Long, 103 Fla. 383, 137 So.2d 232, there was an element of non-acquiescence in the operation of the statutes involved, and the principles of law had not been developed in this State andwere not presented, that are applicable in cases where statutes incorporating municipalities or defining their boundaries or their jurisdiction and powers, are not invalid on their face, but are later adjudged to be invalid in whole or in part, upon the production of facts aliunde showing such invalidity, there may bede facto municipal jurisdiction binding on the municipality and its citizens and taxpayers where municipal authority had been exercised under presumably valid statutes, and contract and other rights had been acquired because of the statutes.
In the City of Cedar Key case, 122 Fla. 454, 165 So.2d 672, a statute, Chapter 9698, Acts of 1923, under Section 8, Article III, Constitution, recognized the then existing Town of Cedar Keys under Chapter 6673, Acts of 1931, and established the City of Cedar Keys with authority to issue bonds for municipal purposes and to tax lands within the city limits to pay the bonds. The municipality operated under such statutory authority for a number of years. By quo warranto judgment, the City of Cedar Keys was ousted of municipal jurisdiction and power under Chapter 6673 and 9698 upon the ground that the statutory boundaries were indefinite, after the municipality had issued authorized municipal bonds that were validated by statute and by judicial decree and the proceeds used for authorized municipal purposes. It was held that the bonds were issued under *Page 351 prima facie and presumably valid statutory municipal jurisdiction and authority to issue the bonds and to tax the lands in the area attempted to be described in the statute; and that when the city was ousted of its presumably valid statutory jurisdiction and power, it then had de facto municipal jurisdiction and authority to continue proper taxation of the area for the payment of the bonds. See Chapter 6673, Acts of 1913; Section 2935 (1825) C.G.L. See other statutes cited in State v. City of Cedar Keys, 122 Fla. 454,  165 So.2d 672.
In the Town of Belleair case, 122 Fla. 669, 170 So.2d 434, the contest was as to whether municipal bonds had been issued and used for the benefit of chartered companies in violation of Section 7, Article IX, Constitution. See State v. Town of Belleair, 125 Fla. 669, 170 So.2d 434; Olds v. Alvord, filed this term. As to what is a municipal purpose, see Peterson v. Town of Davenport, 90 Fla. 71, 105 So.2d 265; City of Venice v. State,96 Fla. 527, 118 So.2d 308; Martha Bright Farms, Inc., v. Broward County Port Authority, 117 Fla. 361, 158 So.2d 70, 293 U.S. 531,55 Sup. Ct. 209, 79 L. Ed. 640. See Clapp v. Otie County, 104 Fed. 473, text page 486, and authorities cited at top of page 486. City of Huron v. Second Ward Sav. Bk., 86 Fed. 272, 277, 30 C.C.A. 38, 43, 90 Fed. 222.
In Ocean Beach Heights v. Brown-Crummer Investment Co., Town of North Miami case, decided by the United States Supreme Court, January 17, 1938, the municipality was established not by statute, but by inhabitants under the general law, Section 2935 (1825) C.G.L., and there could be no de jure or de facto
jurisdiction over non-contiguous lands that the inhabitants had no authority under the general law to incorporate into a de jure
municipality. There was no statute establishing the town or defining its boundaries. Bonds were issued by the self-established *Page 352 
Town after being validated by judicial decree, and the proceeds were used by the town for municipal purposes before the non-contiguous land was adjudged to be not legally within the limits of the town. As the non-contiguous lands that were claimed by the town and its bondholders to be in the municipal limits by action of the inhabitants of the town and not by statute, were never legally in the town and could not have been legally made a part of the town by action of its inhabitants taken under the general statutes, the non-contiguous land was never de jure or defacto in the town limits and was never subject to the jurisdiction of the town. The citizens and taxpayers of the non-contiguous land were not parties to the suit validating the bonds because the bond validating statute makes only those within the de jure or de facto municipal limits parties to the bond validating suit; and the residents of the non-contiguous land did not appear in the bond validating suit or actively acquiesce in issuing the bonds, even if that could have made the non-contiguous land or the owners thereof liable to taxation to pay the bonds. If the municipality had been established by statute, it could have acquired de facto jurisdiction over the non-contiguous land if the statute had attempted to confer such jurisdiction by statute and failed, not because the legislature
had no power to include the territory, but because of a defect in enacting the statute. See Mahood v. State, 101 Fla. 1254,133 So.2d 90; Leatherman v. Alta Cliff Co., 114 Fla. 305, 153 So.2d 845; State v. City of Cedar Keys, 122 Fla. 454, 165 So.2d 672; Town of Enterprise v. State, 29 Fla. 128, 10 So.2d 740, 31 L.R.A. 484; Duke v. Taylor, 37 Fla. 64, 67, 19 So.2d 172, 53 A.S.R. 232; McQuillan: Municipal Corporations 2d Sec. 175.
In State, ex rel., v. City of Winter Haven, 114 Fla. 199,154 So.2d 700, it was, in legal effect, alleged that the city *Page 353 
was illegally exercising municipal jurisdiction and authority over the added area under Chapter 11301, Acts of 1925, which allegations had reference to de jure jurisdiction and authority over the area including plaintiff's land, and not to any de facto
jurisdiction that might flow from the exercise of jurisdiction and authority under Chapter 11301 and the ouster of the city fromde jure jurisdiction and authority under Chapter 11301. The quo warranto judgment of ouster "adjudged that the respondent, City of Winter Haven, be absolutely excluded and ousted from exercising or assuming to exercise any authority, power, franchise, privilege or jurisdiction over the" described lands. This adjudication had relation to the claimed de jure municipal jurisdiction and authority that was then being exercised by the city over the particular lands by virtue of the prima facie and presumably valid portion of Chapter 11301 adding the particular lands to the boundaries of the City of Winter Haven. That statute attempted to include in the city boundaries the particular lands and to thereby give the city de jure jurisdiction and authority over the added area. The quo warranto judgment of ouster is predicated upon the adjudication that the portion of the statute adding the particular area to the city limits was not covered by the subject expressed in the title of the Act, thereby violating Section 16, Article III, of the Constitution, which rendered such portion of the statute invalid from its enactment. The effect of the quo warranto judgment was to oust the city of its claimed dejure municipal jurisdiction and authority over the area under the then adjudicated invalid portion of the statute, Chapter 11301, which added the area to the boundaries of the city. The judgment of ouster did not actually change the boundaries of the area within the city limits as defined by Chapter 11301, for that is a legislative function, unless expressly authorized by statute, Sections *Page 354 
3048 (1915) to 3050 (1917) C.G.L.; Phillips v. Town of Altamonte Springs, 92 Fla. 862, 110 So.2d 460. See also State v. City of Homestead, 100 Fla. 361, 130 So.2d 28; Smith v. Amidon, 102 Fla. 492,  136 So.2d 256. In State, ex rel. Davis, Attorney General, v. City of Stuart, 97 Fla. 69, 120 So.2d 335, the entire Act extending the city limits was held void. See also State, ex rel., v. City of Largo, 110 Fla. 21, 149 So.2d 420.
In Hayes v. Walker, 54 Fla. 163, 44 So.2d 474, the statute provided that the area added to the city boundaries should not be liable for the pre-existing debts of the city. In this case the portion of the statute, Chapter 11301, Acts of 1925, which added the theretofore unincorporated area to the city limits, was primafacie and presumptively constitutional and valid, and prima facie
made the area subject to taxation to pay municipal bonds duly validated, sold and used for authorized municipal public improvements after the area was added to the city and before the jurisdiction and authority of the city was ousted from such added area by quo warranto judgment, the city being a validly existing municipality and having de facto jurisdiction and authority over the defectively added area.
The title to Chapter 11299, Acts of 1925, is:
"AN ACT to Validate and Legalize an Election Held in and for the City of Winter Haven on the 27th day of November, A.D. 1923; to Validate and Legalize the Charter of the City of Winter Haven, which was Adopted by the Electors of said City at said Election held on the 27th day of November, A.D. 1923; and to Validate and Legalize all Contracts, Municipal Assessments, Ordinances and Resolutions, Appointments and Election of Officers and all other Acts which have been done under and by Virtue of said Charter, and Providing a Form and Method of Government for said City of Winter Haven." *Page 355 
A statute cannot validate a statute that was not legally enacted, Williams v. Dormany, 99 Fla. 496, 126 So.2d 117, nor validate proceedings that violate organic provisions relating to the subject matter of the proceedings sought to be validated, Munroe v. Reeves, 71 Fla. 612, 71 So.2d 822. Nuveen v. Quincy,88 Fla. 249, 102 So.2d 739, 37 A.L.R. 1298; but a statute may validate and make effective any previous statutory or other proceedings which it can authorize and could have authorized. Schultz v. State, 80 Fla. 564, 86 So.2d 428; 260 U.S. 8.
The municipal bonds issued under the above statute were validated by judicial decrees as authorized by statute. Secs. 5108 (3296) et seq., C.G.L.
Judicial decrees cannot make effective a statute which violates a provision of the Constitution regulating the subject matter of the statute, or validate bonds that conflict with the Constitution. Weinberger v. Board, 93 Fla. 470, 112 So.2d 253; Nuveen v. Quincy, 88 Fla. 249, 102 So.2d 739, 37 A.L.R. 1298.
Judicial decrees duly rendered under the validating statute may validate municipal bonds which are authorized by the Constitution or a statute to be issued, even though the authority to issue the bonds is defectively exercised, provided the bonds as issued do not violate any command or prohibition of the Constitution and are in substantial compliance with the Constitution or statute which is the basic authority for issuing the bonds. Bd. Pub. Inst. v. State, 121 Fla. 703, 164 So.2d 697.
In the Nuveen case, Munroe v. Reeves, 71 Fla. 612, 71 So.2d 922, the bond issue was validated by statute, Chapter 6095, Acts of 1909; but as the school bonds included in the issue on their face violated Article XII of the Constitution, the statutory validation was ineffectual. A statute *Page 356 
cannot validate and make legal municipal bonds which a statute could not have authorized to be issued the Constitution forbidding such issue. Smith v. Williams, 100 Fla. 642,126 So.2d 367. City of Daytona Beach v. King, filed this term.
The portion of the statute purporting to authorize the town to issue bonds for public free school purposes, had never been adjudicated to be constitutional and as the statute and the bonds showed on their face that the bonds were for a purpose impliedly forbidden by Article III of the Constitution, as interpreted in State, ex rel., v. L'Engle, 40 Fla. 392, 24 So.2d 539, and Brown v. City of Lakeland, 61 Fla. 508, 54 So.2d 716, the school bonds issued by the town were invalid and could not be enforced asbonds of the town. See State, ex rel. Nuveen, v. Greer, 88 Fla. 249,  102 So.2d 739, 37 A.L.R. 1298; Nuveen v. Quincy, 115 Fla. 510,156 So.2d 153, 94 A.L.R. 600.
In the Weinberger case the bonds on their face showed they violated the terms of Section 17, Article XII, of the Constitution, which regulates the terms of bonds issued by special tax school districts. The bonds being unconstitutional on their face, were enjoined before they were sold, even though they had been validated by judicial decree. See Weinberger v. Board of Public Instruction, 93 Fla. 470, 112 So.2d 253.
Prior to and after 1925, a period of extended and permanent economic development was under way in the State of Florida, and many large areas of unimproved lands were incorporated into some of the municipalities in the State for municipal purposes. Public improvement bonds were issued and the proceeds used in paving streets and sidewalks and in constructing other municipal public improvements and utilities. Later numerous steps were taken to exclude some of such unimproved areas from the limits of *Page 357 
municipalities. See State, ex rel. Johnson, Attorney General, v. City of Sarasota, 92 Fla. 563, 109 So.2d 473; State, ex rel. Davis, Attorney General, v. City of Stuart, 97 Fla. 69, 120 So.2d 335, 64 A.L.R. 1307; State, ex rel. Attorney General, v. City of Avon Park, 108 Fla. 641, 149 So.2d 409; State, ex rel. Davis, Attorney General, v. City of Avon Park, 117 Fla. 565, 158 So.2d 159; State,ex rel. Davis, Attorney General, v. City of Eau Gallie, 99 Fla. 579,  126 So.2d 124; State, ex rel. Davis, Attorney General, v. Town of Lake Placid, 109 Fla. 419, 147 So.2d 468. See Chapter 13402-3, Acts of 1927, and other municipal charters.
This suit, like many others, is to determine the right of municipalities to exercise taxing powers over lands which have been excluded from municipal jurisdiction after municipal bonds have been issued and validated and sold and the proceeds used for authorized municipal public improvements. The cases involve important questions of fundamental law and affect the rights of an ever increasing population of the State, whose progressive citizens, unequalled climate, abundant natural resources and fair election laws, good roads and other inducements attract thousands of new settlers every year as is shown by the census reports giving the population of Florida as 528,542 in 1900; 752,619 in 1910; 968,470 in 1920; 1,263,549 in 1925; 1,468,211 in 1930; 1,606,852 in 1935; estimated at 1,747,214 in 1937. Total State assessment values in 1900 were $96,686,954.00 and in 1937 were $427,195,255.00.
This suit was brought by a citizen taxpayer, who is the owner, to enjoin municipal taxation of described land. The levies for the years 1930, 1931, 1932, 1933, are apparently for operating expenses and bond payments, and for the year 1936 the levy is apparently to pay municipal bonds that were issued and used for municipal public improvements under Chapters 11299 and 11301, *Page 358 
Acts of 1925, before the municipal authority of the City of Winter Haven over a particular area, including plaintiff's land, was ousted by a judgment in quo warranto proceedings. The prayer is for cancellation of tax levies and for injunction against levies and collection of taxes upon plaintiff's land for the stated purposes.
Illegal taxation of lands may be enjoined. Pickett v. Russell,42 Fla. 116, 28 So.2d 764; Tampa Water Works Co. v. Wood, 104 Fla. 306,  139 So.2d 800; Consolidated Land Co. v. Tyler, 88 Fla. 14,101 So.2d 280; State v. City of Avon Park, 108 Fla. 641, 149 So.2d 409; City of Sarasota v. Skillin, 130 Fla. 724, 178 So.2d 837.
The bill of complaint seeks relief upon the ground that plaintiff's land was never legally within the city limits, and not upon the ground that plaintiff's land has not received and cannot receive any possible benefits from the municipality or from its public improvements, as in City of Sarasota v. Skillin,130 Fla. 724, 178 So.2d 837; State v. City of Avon Park, 108 Fla. 641,  149 So.2d 409.
Counsel for the city in effect argues that the city being a dejure municipality, has de facto jurisdiction and authority to levy and collect the taxes on plaintiff's land to pay administrative expenses and also to pay municipal bonds issued by the city as authorized under its statutory charter, Chapter 11299, with power to impose the tax, whie Chapter 11301, Acts of 1925, which added to the city boundaries the area formerly in the Town of Florence Villa and also added another area embracing plaintiff's land, was prima facie and presumptively valid and in force in its entirety.
The plaintiff below, appellee here, contends in effect that by reason of the insufficiency of the title to Chapter 11301, Acts of 1925, to cover the portion of the statute which adds to the boundaries of the City of Winter Haven the area *Page 359 
theretofore incorporated, that portion of the statute is invalid; that such partial invalidity appears on the face of the statute; that such portion of the statute was void from is enactment because it violated Section 16 of Article III, Constitution; that there can be no de facto jurisdiction of the city over such area; that taxation of plaintiff's land in such area violates Sections 3 and 5 of Article IX of the State Constitution. These contentions are not well founded, as will be shown herein. Appellee does not contest the validity of the municipal bonds of the City of Winter Haven.
Statutes and judicial judgments and decrees should be so interpreted and applied as to effectuate the intended purpose that is consistent with applicable provisions of the paramount organic law; and personal and property rights that are intended by the Constitution to be secured to those lawfully claiming them, should be protected and enforced by due course of law, when no applicable express or implied provision of the State or Federal Constitution is thereby violated. For example, when the subject of property rights is lawfully produced or created, and rights that are intended by the Constitution to be secured to those lawfully claiming them, are bona fide duly acquired in the property so produced or created, such rights should by due course of law be protected and enforced, even though there be procedural or other defects, but no violation of controlling organic law, in the creation or acquisition of such rights. See State v. City of Cedar Keys, 122 Fla. 454, 165 So.2d 672. See also West v. Town of Lake Placid, 97 Fla. 127, 120 So.2d 361.
But if a command or prohibition of the Constitution is violated in the creation or production of the subjects of property or in the acquisition of interest therein, such interests are not rights that are intended by the Constitution to be secured, and they will not as such be protected or enforced *Page 360 
in the courts. See State, ex rel. Nuveen, v. Greer, 88 Fla. 249,102 So.2d 739, 37 A.L.R. 1298.
Chapter 11299, Acts of 1925, established the City of Winter Haven with described boundaries and extensive municipal powers and authority to issue municipal interest bearing negotiable bonds to be sold and the proceeds thereof used for authorized municipal improvement purposes, the interest and principal of the bonds to be paid by necessary annual tax levied upon all the property within the city.
Chapter 11301, Acts of 1925, abolished the adjacent Town of Florence Villa and added its area to that of the City of Winter Haven, together with an additional area including plaintiff's land, not theretofore in any municipality.
After June 2, 1925, the effective date of Chapter 11301, the City of Winter Haven, pursuant to its statutory charter authority, issued municipal interest bearing negotiable bonds for authorized municipal public improvement purposes. The bonds in effect state that all provisions of law were complied with, and pledged the faith and credit of the city for the payment of the bonds. The statute authorized the taxation of all the lands within the city limits to pay the bonds. The bonds were duly validated by decrees of the Circuit Court, a court of general jurisdiction, acting under express statutory authority consistent with the Constitution. No appeals were taken from the validating decrees. The statute made all citizens and taxpayers of the city parties to the validating proceedings. None of them contested the validation or the issue of the bonds, and the decrees of validation became res adjudicata. The proceeds of the bonds were used for authorized municipal public improvements, some of the improvements being in the added area which embraces plaintiff's land. Taxes were annually levied upon all the taxable lands in the City of Winter Haven, as described *Page 361 
by Chapter 11301, including the area embracing plaintiff's land, to pay the interest and principal of the bonds and operating expenses.
On March 7, 1934, after the bonds were validated and sold and the municipal public improvements were made, the City of Winter Haven was by quo warranto judgment ousted from all jurisdiction and authority over the stated added area embracing plaintiff's land. State, ex rel., v. City of Winter Haven, 114 Fla. 199,154 So.2d 700.
Thereafter the City of Winter Haven ceased to levy taxes on the area from which the jurisdiction of the city had been ousted by the quo warranto judgment. Later in mandamus proceedings brought by bondholders, the United States District Court required the city to continue to appropriately tax the lands covered by the quo warranto judgment for bond payment purposes until the interest and principal of the bonds are paid. Such judgment of the United States District Court was affirmed by the United States Circuit Court of Appeals. City of Winter Haven v. Gillespie, 84 F.2d 285. Certiorari was denied. Hartridge-Cannon Co., et al., v. Gillespie, et al., 299 U.S. 606,57 Sup. Ct. 232, 81 L. Ed. 447.
A taxpayer brought this suit in the State Circuit Court to enjoin the city from taxation of his land for the above stated municipal purposes. From adverse interlocutory decrees the city took the appeal in this case.
In City of Winter Haven v. Gillespie, 84 F.2d 285, above cited, the action was mandamus brought by bondholders against the city to enforce taxation. In this case the suit is by a taxpayer against the city to enjoin taxation. The same basic principles of law are applicable in each case.
The quo warranto judgment of March 7, 1934, operating, not upon land, but upon city authorities, ousted the City of Winter Haven from exercising municipal jurisdiction *Page 362 
over the stated added area upon the ground, not that the Legislature had no power to add lands to the city limits, but that such area was not covered by the subject expressed in the title to Chapter 11301, as is required by Section 16, Article III, of the Constitution. As the Legislature had the power by statute to incorporate added lands in the city and as the quo warranto judgment could not change the statutory boundaries of the city, and as the city had exercised the prima facie valid jurisdiction and authority conferred by the statute, the judgment ousting the city from jurisdiction over a part of the area, did not affect the de facto jurisdiction of the city over such added area.
When considered with the title of the Act quoted in the statement, the description of the boundaries of the City of Haven as contained in Chapter 11301, also quoted in the statement filed herewith, does not show by the face of the statute that such described boundaries contain land not covered by the title of the Act. Consequently the alleged failure of the title of the Act to express a subject broad enough to include all the lands embraced in the description of boundaries of the City of Winter Haven contained in Chapter 11301, had to be, and was, shown by evidencealiunde the statute in the quo warranto proceedings before the judgment of ouster could have been legally rendered. State, exrel. v. City of Winter Haven, 114 Fla. 199, 154 So.2d 700. See also West v. Town of Lake Placid, 97 Fla. 127, 120 So.2d 361; State v. Town of Lake Placid, 109 Fla. 419, 147 So.2d 469; State v. Town of Lake Placid, 117 Fla. 874; 158 So.2d 497; State v. Town of Lake Placid, 121 Fla. 839, 164 So.2d 531.
Where a statute establishing, or relating to, the jurisdiction and powers of a municipality, or a part of such statute, violates a command or a prohibition of the Constitution which relates, not merely to the form of the exercise *Page 363 
of the legislative power in enacting statutes, as does Section 16, Article III, but which relates to the nature or character ofthe subject matter of the enactment, as do Secion 17, Article XII, Section 30, Article III, and Section 7, Article IX, such statute or a severable portion thereof so violating the Constitution, may be adjudicated to be invalid and inoperative abinitio, and, as in such cases, the invalidity of the Act or the portion thereof goes to the power of the Legislature to enact the law, and not merely to the form of the enactment, no rights or correlative obligations may arise under such invalid statute or invalid portion of the statute. Such invalid statute or part of a statute could not be validated by statute or by judicial decree. See Brown v. City of Lakeland, 61 Fla. 508, 54 So.2d 716; Monroe v. Reeves, 71 Fla. 612, 71 So.2d 922; Weinberger v. Bd. Pub. Inst., 93 Fla. 470, 112 So.2d 253; Nuveen v. City of Quincy,115 Fla. 510, 156 So.2d 153, 37 A.L.R. 1298.
But where the Legislature has power to extend the authority of a city over the added areas of lands by including them in an existing municipality, and attempts to do so by a prima facie and presumptively valid statute, and for some years the city exercises municipal authority over such lands, but the subject expressed in the title of the Act is later adjudged to be not sufficiently comprehensive to embrace the particular lands, such defect going to the form of the statute and not to the power of the Legislature to include lands in the municipality, and becausethereof the city is ousted from jurisdiction and authority over such particular area of lands by quo warranto judgment, the municipal jurisdiction and authority exercised over such lands by virtue of the prima facie and presumptively valid statute, may bede facto jurisdiction and authority, binding on citizens and taxpayers for the purposes of issuing bonds for *Page 364 
authorized municipal purposes, and levying duly authorized taxes; since, under Section 8, Article VIII of the Constitution, the Legislature has power to incorporate lands, and the lands were intended to be included, though they were not legally included in the city limits, because of the defective title of the Act. In such case, the portion of the statute covering the added area of lands would be prima facie and presumptively valid until adjudged to be invalid to confer de jure jurisdiction, because of thedefective or illegal exercise of the power which the Legislature had, to include lands in the city limits and authority, though the city would have de facto jurisdiction over the area because of the exercise of its prima facie jurisdiction and authority. But if the Legislature had no power to include lands within the limits and authority of the city, there could be no de jure or defacto municipal authority of the city over the lands. See State,ex rel., v. Walthall, 124 Fla. 866, 169 So.2d 522; State, ex rel.,
v. City of Cedar Keys, 122 Fla. 454, 165 So.2d 672; Ocean Beach Heights v. Brown-Crummer Inv. Co., 58 Sup. Ct. 385, 82 L. Ed. ___, filed Jan. 17, 1938.
Chapter 11299 authorizes the issue of municipal bonds not to exceed ten per cent. of the value of the taxable property in the city, and requires the levy of taxes upon lands that arenecessary to pay the bonds. Such levy is made "in pursuance of law" under Section 3, Article IX, of the Constitution; and the statute is sufficiently definite and specific in its limitations as to the issue of bonds and taxation so as not to be an unlawful delegation of legislative power under Section 5, Article IX, of the Constitution. See Roundtree v. State, 102 Fla. 246,135 So.2d 888. The taxing power conferred by Chapter 11299 is essentially unlike that conferred in Stewart v. Daytona  N.S.I. District,94 Fla. 859, 114 So.2d 545. *Page 365 
In view of the above statements, it is clear that under Chapters 11299 and 11301, Acts of 1925, the City of Winter Haven is a de jure municipality; that the city had authority to issue the bonds for the authorized municipal purposes; and, in order to pay the bonds, had and has authority to levy and collect an appropriate tax upon all the land that was prima facie andpresumably legally with the city limits under Chapter 11301, the authority after the ouster judgment being de jure as to all lands legally in the city limits, and de facto, but effectual as to appropriate taxation of the land in the area from which the jurisdiction of the city has been ousted by the quo warranto judgment, which area includes plaintiff's land, such taxation since 1934 being to pay amounts due on the bonds of the city. The quo warranto judgment of ouster was rendered years after the city assumed and exercised jurisdiction over all the territory described in Chapter 11301, and after the bonds had been validated and sold and the proceeds thereof used in the authorized municipal improvements made in the city, some of such improvements being in the area in which plaintiff's land is located.
This conclusion is not intended to affect, and does not affect, the quo warranto judgment of ouster, relating as it does to thede jure jurisdiction of the City of Winter Haven over the stated added area; but the conclusion is that, under the facts shown, the original prima facie and presumptively de jure jurisdiction and ultimate de facto jurisdiction of the City of Winter Haven over the land affected by the judgment of ouster and the exercise of such jurisdiction and authority before the ouster judgment, gives the city legal authority to levy and collect appropriate and just taxes upon plaintiff's land since the judgment of ouster, to pay its proper share of the legal bond obligations of the city. The tax levies made before the ouster judgment *Page 366 
apparently were for operating expenses as well as for paying bonds issued by the city. A further discussion with citations of authority might not be inappropriate.
The right to establish a municipality does not exist in individuals but is conferred by the State through statutes that accord with organic law. Robinson v. Jones, 14 Fla. 256. The Constitution provides for the establishment of municipalities under authority given by general laws and by statutes dealing with particular municipalities. Sec. 24, Art. III; Sec. 8, Art. VIII. Under Section 24, Article III, the general statutes provide that a municipality may be established by the "inhabitants of any hamlet, village or town in this State," not less than twenty-five in number, by complying with the requirements of the statute. When duly established and organized, the municipality has stated powers, authority, duties and privileges conferred by the general statutes regulating the establishment, powers, jurisdiction and privileges of such self-established municipalities. Secs. 2935 (1825), et seq., C.G.L., copied or referred to in the statement preceding this opinion.
The inhabitants of a community in establishing a town under the statute have no authority to incorporate in the same municipality two distinct detached tracts of land; and an attempt to do so is void. Town of Enterprise v. State, 29 Fla. 128, 10 So.2d 740; Mahood v. State, 101 Fla. 1254, 133 So.2d 90. A statute may incorporate into a municipality two separate and non-contiguous lands. Lane v. State, 63 Fla. 220, 57 So.2d 662.
Under Section 8, Article VIII, Constitution, quoted in the statement, except as modified by Section 6, Article IX, as amended in 1930, as to issuing governmental bonds," the Legislature shall have power to establish and to abolish municipalities, to provide for their government, to prescribe their jurisdiction and powers." Hayes v. Walker, 54 Fla. 163, *Page 367  44 So.2d 474; State v. Tampa Water Works, 56 Fla. 858,47 So.2d 358; 19 L.R.A. (N.S.) 183; MacGuyer v. Tampa, 89 Fla. 138,103 So.2d 418; Lake Alfred v. Lawless, 102 Fla. 84, 135 So.2d 895; Lane v. State, 63 Fla. 220, 57 So.2d 662; State v. Avon Park, 108 Fla. 641,  149 So.2d 409. See Sec. 6, Art. IX, as amended in 1930; Jacksonville v. Renfroe, 102 Fla. 512, 136 So.2d 254.
As a basis for the establishment of a municipality by or under statutory authority, there must be in existence a community of people and a territory they occupy of sufficient but not patently excessive and unsuited area for the inhabitants to have such human contacts as to create a community of public interest and duty requiring, in consideration of the general welfare, an organized governmental agency for the management of their local affairs of a quasi public nature. State v. Town of Lake Placid,109 Fla. 419, 147 So.2d 468.
The power to establish a municipality may not lawfully be so exercised as to be an abuse of power or authority to incorporate an area where there is no resident population or where the population is so small and disproportionate to an enormously excessive area included in the boundaries, when the patently and grossly excessive area is not suitable for municipal purposes, and cannot be benefited by the municipality or its public facilities or improvements, and cannot be needed for a reasonably expected growth of the municipality or the needs of the municipality. State v. Sarasota, 92 Fla. 563, 109 So.2d 473; State v. Stuart, 97 Fla. 69, 120 So.2d 335, 64 A.L.R. 1307; State v. Avon Park, 108 Fla. 641, 149 So.2d 409; State v. Lake Placid, 109 Fla. 419,  147 So.2d 468; State v. Pompano, 113 Fla. 246, 151 So.2d 485; State v. Fort Lauderdale, 102 Fla. 1019, 136 So.2d 889; State v. Homestead, 100 Fla. 361, 130 So.2d 28; State v. Largo, *Page 368 110 Fla. 21, 149 So.2d 420; Olds v. State, 101 Fla. 218,133 So.2d 641.
The Constitution commands that when a municipality is abolished, provision shall be made for the protection of its creditors. State v. Goodgame, 91 Fla. 871, 108 So.2d 836; Humphreys v. State, 108 Fla. 92, 145 So.2d 858; San Mateo v. State, 116 Fla. 546,  158 So.2d 112; State v. Peacock, 112 Fla. 671, 151 So.2d 4. The principle of the above organic command contemplates that where lands are withdrawn from a municipality, such land shall continue to be liable to taxation for the debts of the town or city unless the creditors are otherwise fully protected. See Humphreys v. State, 108 Fla. 92, 145 So.2d 858; State v. Miami, 101 Fla. 272,134 So.2d 608.
A statute incorporating lands into a municipality is not ipsofacto or even prima facie unconstitutional on the ground that some of the lands may be adjudged to be unsuited for municipal purposes, or that some of the lands cannot be benefited by such incorporation; for such matters are within the legislative judgment, unless by due course of law a violation of a provision of the Constitution is adjudged; and such adjudication ordinarily has to be made upon evidence aliunde the statute. A statute not patently unconstitutional on its face is prima facie and presumptively valid, and rights acquired bona fide under such a statute are property rights protected by the State and Federal Constitutions.
As Section 16, Article III, of the Constitution, which rendered invalid the portion of Chapter 11301 because of the defective title of the Act, operated upon the form or manner of the enactment and did not negative the power of the Legislature to include lands in the city limits, the statute being invalid on its face, was prima facie and presumptively valid in its entirety, and so remained until the *Page 369 
quo warranto judgment ousted the city from its prima facie dejure jurisdiction conferred by Chapter 11301 over the above stated added area. But such ouster did not deprive the city of its de facto jurisdiction and authority, which (consistently with the Constitution and statutes of the State and without affecting the ouster judgment) the law raises to protect and enforce organic rights lawfully acquired pursuant to the exercise by the city of the prima facie and presumptively valid jurisdiction and authority conferred upon the city by Chapter 11301.
Some of the provisions of the State Constitution relate to and control the form and manner of enacting statutes; e.g., Sections 16, 17, Article III; some provisions relate to and control thepower of the Legislature to enact stated subjects of legislation; e.g., Sections 5 and 6, Article IX; Section 30, Article III; and other provisions contain commands or prohibitions addressed to the Legislature or to other departments of the government, or to all; e.g., Section 7, Article IX; Section 23, Article III. The enacting clause prescribed by Section 15, Article III, is a prime essential to the validity of a law. In re Advisory Opinion,43 Fla. 305, 31 So.2d 348.
Statutes that are not patently and indubitably void or unconstitutional on their face are prima facie and presumptively valid and constitutional; and they so remain, subject to be duly adjudicated to be in whole or in part in conflict with express or implied provisions of the paramount law or to be otherwise inoperative in whole or in part. This rule is particularly applicable where the illegality alleged is the legal insufficiency of the title to express the subject embraced in the body of the Act, since the Legislature has wide latitude in selecting and expressing subjects of legislation, and the courts do not adjudge a title to a legislative enactment to be in violation of Section 16, *Page 370 
Article III, unless the title is misleading and such violation appears beyond any doubt, so as to make it the duty of the courts to sustain the Constitution when a statute indubiably conflicts therewith. See Hiers v. Mitchell, 95 Fla. 345, 116 So.2d 81; State v. Hand, 96 Fla. 799, 119 So.2d 376. The public had a right to presume that Chapter 11301 was valid as an entirety.
Section 16, Article III, of the Constitution is mandatory in its provisions; and a legislative enactment which violates this section is invalid ab initio. The section does not relate to a specific subject of legislation, as does Section 17, Article XII, nor does it relate to subjects that shall not be included in the statute, as does Section 6, Article IX, and Section 30, Article III; but it relates to the form and manner of expressing the subjects of the enactments in the titles of the Acts. If the organic invalidity is patent upon the face of the enactment, or if it violates a command or prohibition of the Constitutionaffecting the nature of the subject matter and not merely theform or manner of the enactment, it is, ipso facto, void, and no rights may be acquired under it. Nuveen v. City of Quincy,115 Fla. 510, 156 So.2d 153, 37 L.R.A. 1298. If the enactment relates to municipal jurisdiction that the Legislature has power to confer, and it is not unconstitutional on its face, but may be duly adjudged to be unconstitutional by appropriate allegations and evidence aliunde the enactment, and if it is adjudged to be unconstitutional, it is so ab initio; but if rights are duly andbona fide acquired under the enactment before it is adjudged to be unconstitutional; there may in law be a de facto municipal jurisdiction that is recognized and utilized by the courts in protecting and enforcing organic rights duly acquired before the illegality of the enactment is adjudged. State, ex rel., v. City of Cedar Keys, 122 Fla. 454, 165 So.2d 672; City of Winter Haven v. Gillespie, *Page 371 84 F.2d 285; West v. Town of Lake Placid, 97 Fla. 127,120 So.2d 361.
In this case the invalidity of a portion of Chapter 11301, Acts of 1925, is because of the insufficiency of the title of the Act to include a portion of the lands attempted to be embraced in Chapter 11301, which invalidity is as to the form and manner of the enactment, and did not go to the power of the Legislature to incorporate land; and such invalidity did not appear on the face of the statute, and had to be shown by evidence; and because of the action taken under the prima facie and presumptively valid statute, the doctrine of de facto jurisdiction of the municipality over the lands not legally but in fact in the municipality by statutory description, is properly applied under the State and Federal decisions establishing the doctrine of defacto jurisdiction of municipalities established by statutes. See cases last above cited. In Wade v. Atlantic Lumber Co., 51 Fla. 628,  41 So.2d 72, and like cases, the doctrine of de facto
municipal jurisdiction could not be applied.
Section 16, Article III, does not relate to particular subjects of legislation as do Section 7, Article IX, and Section 17, Article XII; but like Sections 15 and 17, Article III, Section 16 is applicable to every legislative enactment. Ordinarily and generally when a statute violates Section 16, Article III, it appears by a consideration of the face of the statute with the organic section, as in Car v. Thomas, 18 Fla. 736; Wade v. Atlantic Lumber Co., 51 Fla. 628, 638, 41 So.2d 72; Pebble Phosphate Co. v. Silverman, 80 Fla. 541, 86 So.2d 508; State v. Palmes, 23 Fla. 620, 3 So.2d 171; Webster v. Powell, 36 Fla. 703,18 So.2d 441; Ex Parte Knight, 52 Fla. 144, 41 So.2d 786; Ex Parte
Gilletti, 70 Fla. 442, 70 So.2d 446.
In this case a part of Chapter 11301 violates the first clause of Section 16, Article III, in that the description of *Page 372 
the boundaries of the City of Winter Haven as contained in Chapter 11301, does not show on its face that it embraces more area than that which was theretofore in the city plus the added area that had been included in the abolished Town of Florence Villa, which two latter areas alone were covered by the title. That an area not theretofore incorporated was added to the city limits by the contents of Chapter 11301 but not covered by the title of the Act, was shown by evidence aliunde Chapter 11301, in the quo warranto proceedings and a judgment was rendered ousting the city from jurisdiction and authority over the added area. The statutory descriptions of the area theretofore included in the City of Winter Haven and the boundaries of the Town of Florence Villa had to be examined before it appeared that Chapter 11301 contained descriptions of land not covered by the title of the Act, viz.: description of areas that had not been in the city or in Florence Villa.
When a question is duly presented as to whether a portion of a statute is embraced in the subject expressed in the title of the statute, or as to whether it is matter properly connected with the subject expressed in the title of the statute, the question is to be determined as a matter of law; but prima facie and presumptively such portion is sufficiently covered by the title of the Act, at least unless it is patently obvious that it is not, which affords notice to everyone; and if such portion of the statute does not appear by the face of the statute, considered with the Constitution, to be not covered by the title of the Act within the intent and meaning of Section 16, Article III, of the Constitution, it must be shown by evidence aliunde in appropriate judicial proceedings, as was done in State v. City of Winter Haven, 114 Fla. 199, 154 So.2d 700. In the Nuveen and Weinberger cases, the unconstitutionality of the *Page 373 
statute appeared on the face of the law considered with the Constitution.
In such cases whether the controverted portion of a statute is, or is not, sufficiently covered by the title of the statute, as required by the State Constitution, is a matter for State, and not for Federal, jurisdiction. See Chicago, etc., R.R. v. Risty,276 U.S. 567, 48 Sup. Ct. 396, 72 L. Ed. 703; Forsyth v. Hammond,166 U.S. 506, 17 Sup. Ct. 665, 41 L. Ed. 1095.
In the North Miami case, 58 Sup. Ct. Rep. 385, ___ L. Ed. ___, the general statutes gave the inhabitants of the community authority to incorporate land, but not non-contiguous land. In attempting to incorporate non-contiguous lands, the inhabitants did not merely defectively exercise their authority, but they assumed to exercise an authority not given them, viz.: to incorporate non-contiguous lands. Town of Enterprise v. State,29 Fla. 128, 10 So.2d 740.
In this case the Constitution gave the Legislature authority to incorporate lands whether contiguous or not; but the Legislature must exercise its authority by statute enacted as required by Section 16, Article III, of the Constitution. Chapter 11301 incorporated lands as authorized by Section 8, Article VIII, Constitution, but some of the lands so incorporated were not embraced in the title of the Act. This was a defective exercise of the power conferred by Section 8, Article VIII, of theConstitution; but the statute did not assume to include lands it had no authority to incorporate.
Thus in the North Miami case, supra, there was no authority to incorporate non-contiguous lands; while in this case the statute,
Chapter 11301, was a defective exercise by the Legislature of its power to incorporate all the lands, *Page 374 
by not making the title sufficiently comprehensive to include a part of the lands described in the body of the Act. There was nostatutory validation or incorporation in the North Miami case, as in Schultz v. State, 80 Fla. 564, 86 So.2d 428. See also State v. Eddy, 95 Fla. 978, 117 So.2d 377. In this case there was astatutory incorporation of lands; and the defect in incorporatinga part of the land did not go to the power to incorporate the land, but to the form of the enactment; and the defect did not appear on the face of the statute, but had to be shown aliunde in the quo warranto proceedings.
Even if the portion of the lands included in Chapter 11301 were of such a nature and so situated that the city could have been ousted of jurisdiction of them on that ground, that did not appear by the statute, and would have to be shown aliunde. If the area had been excluded by statute after the land had become subject to taxation to pay bonds, the statute so excluding the land would be void as violating the obligation of the bond contracts, even if the jurisdiction of the municipality over the land be merely de facto; and there can be de facto municipal jurisdiction over lands that are defectively incorporated by astatute not void on its face, though there can be no de facto
jurisdiction over non-contiguous lands attempted to be incorporated by inhabitants under the general statutes which do not give inhabitants authority to incorporate non-contiguous
land, and no statute has incorporated or authorized the incorporation of non-contiguous lands by the inhabitants, or otherwise, as may be in accord with organic law. State v. Rodes,115 Fla. 259, 151 So.2d 289, 155 So.2d 852.
The doctrines of de jure and of de facto municipal jurisdiction and powers, and of de jure and de facto officers and of de jure
and de facto corporations existed in this State when the present Constitution of Florida was adopted. *Page 375 
Such doctrines are not inconsistent with the Constitution and statutes of the State, and they have been recognized and applied in proper cases. If there is a prima facie and presumptively valid statutory de jure municipality or if there is prima facie
and presumptive municipal jurisdiction or authority over an added area to the boundaries of a municipality, there may be de facto
municipal existence or jurisdiction. See West v. Town of Lake Placid, 97 Fla. 127, 120 So.2d 361. But if there is no authority for conferring de jure municipal jurisdiction or authority, there can be no de facto jurisdiction or power. Ocean Beach Heights v. Brown-Crummer Inv. Co., 58 Sup. Ct. 385, 82 L. Ed. ___; Town of Enterprise v. State, 29 Fla. 128, 10 So.2d 740.
Likewise if there is no office and no authority to create an office, there can be no de facto officer. But if the Legislature has authority to create an office and by statute defectively exercises the authority, or if there is no officer holding dejure, there may be a de facto officer under color of authority. Norton v. Shelby, 118 U.S. 425, 6 Sup. Ct. 1121, 30 L. Ed. 178; State v. Gleason, 12 Fla. 190, 233; State v. Sawyer, 94 Fla. 60,113 So.2d 736. There can be no de facto corporation unless a dejure corporation could have been created by or pursuant to a valid statute, or unless it is attempted to be created in substantial compliance with legal authority for creating a dejure corporation. Duke v. Taylor, 37 Fla. 64, 19 So.2d 172, 53 Am. St. Rpts. 232, 31 L.R.A. 484; Booske v. Gulf Ice. Co., 24 Fla. 550;  5 So.2d 247.
The de facto jurisdiction and authority of a municipality are recognized by the law as a means of protecting and enforcing rights bona fide acquired under a prima facie and presumptively valid statute, or under authority conferred by statute where the authority conferred, or attempted to be conferred, could have been conferred and is exercised in *Page 376 
good faith and within the authority that could legally have been, and was attempted to be, conferred.
In this case:
(1) There was a valid general law, viz.: Section 8, Article VIII, Constitution, under which Chapter 11301 could have added the stated area to the city limits;
(2) There was a legislative attempt in Chapter 11301 to add the area to the city limits;
(3) There has been actual uses of the jurisdiction attempted to be conferred by Chapter 11301, and rights have been acquired thereunder.
See Tulare Irrigation Dist. v. Shepard, 185 U.S. 1, 13,22 S. Ct. 531, 46 L. Ed. 773.
In Duke v. Taylor, 37 Fla. 64, 19 So.2d 172, 53 Am. St. Rep. 232, 31 L.R.A. 484, the corporate power could have been acquired under the statute, but no bona fide attempt was made to pursue the State statute under which the corporate authority could have obtained.
The provision of Section 5, Article IX, of the Constitution, that "the cities and incorporated towns shall make their own assessments for municipal purposes upon the property within their limits," does not forbid municipal taxation of land that was by statute included in the limits of a municipality, though the jurisdiction and authority of the municipality be ousted from the land, where rights had been acquired predicated upon de facto
power to tax the land before the municipal jurisdiction and authority over the land was ousted. If lands are excluded from the municipality by statute after organic rights had been acquired, it would violate the obligation of contracts, contrary to the State and Federal Constitutions. State v. Town of Holly Hill, 128 Fla. 385, 174 So.2d 818. If the ouster of municipal jurisdiction and authority over an area *Page 377 
in the statutory city limits be by judicial judgment after such rights had accrued, it would be the deprivation of property rights without due process of law, if the lands do not remain subject to appropriate taxation. See State v. City of Cedar Keys,122 Fla. 454, 165 So.2d 672.
Though the taxpayer plaintiff does not challenge the validity of the bonds for the payment of which his land is taxed, the authority to issue the bonds and to levy tax for authorized municipal purposes should and does appear.
The statute limits the amount of bonds to ten per cent. of the value of the property in the city and required the annual levy of a tax necessary to pay the bonds for duly authorized municipal purposes. This complies with Sections 3 and 5 of Article IX of the Constitution; and there is no unlimited or unlawful delegation of the sovereign power of taxation to the municipality. There is no suggestion that Section 6, Article IX, Constitution, as amended in 1930, was not complied with after its adoption.
Where, pursuant to valid statutory authority, negotiable bonds to be paid by taxation are duly issued and sold bona fide by a dejure municipality to obtain funds for authorized municipal public improvement purposes, such negotiable bonds are binding contract obligations of the municipality to be paid by taxation as provided by law upon all the taxable property within the municipality at the time the bonds are issued and sold, unless otherwise provided in the law or proceedings authorizing the bonds to be issued. Humphreys v. State, 108 Fla. 92, 145 So.2d 858; State, ex rel., v. Lehman, 100 Fla. 1113, 131 So.2d 533.
This rule of the contract obligations of such duly issued municipal bonds is applicable to taxable lands that were in the limits of a de jure municipality when the bonds were issued, but which were subsequently excluded by statute. *Page 378 
Such lands, though excluded from the municipality, remain subject to the right of the municipality exerting de facto jurisdiction and of the right of bona fide holders of the negotiable bonds, to have the lands legally and appropriately taxed as authorized by law, in common with the lands remaining in the municipality, to pay the bonds under the law in force and applicable when the bonds were issued. State v. Town of Holly Hill, 128 Fla. 385,174 So.2d 818. The same rule applies when the municipality had only defacto existence and jurisdiction over the lands. State, ex rel.,
v. City of Cedar Key, 122 Fla. 454, 165 So.2d 672; Henderson v. Town of Lake Placid, filed January 8, 1938; City of Winter Haven v. Gillespie, 84 F.2d 285; State, ex rel., v. Walthall,124 Fla. 866, 169 So.2d 552; State, ex rel., v. Walthall, 125 Fla. 423,170 So.2d 115; West v. Town of Lake Placid, 97 Fla. 127,120 So.2d 361; Speer v. Board, 88 Fed. 749, 32 C.C.A. 101; Clapp v. Otie County, 104 Fed. 473, 145 C.C.A. 579.
A like rule applies when it is attempted by statute or constitutional amendment to exempt lands from taxation resulting in a violation of the organic commands that no law shall be passed violating the obligation of contracts. Sec. 17, Declaration of Rights, Florida Constitution; Sec. 1, Art. 10, Federal Constitution; Boatright v. City of Jacksonville, 117 Fla. 477,  158 So.2d 52; Gray v. Moss, 115 Fla. 701, 156 So.2d 262; State v. City of Pensacola, 123 Fla. 441, 166 So.2d 851.
The City of Winter Haven is a legally existing municipality. The city exercised the municipal authority conferred by Chapter 11299 over all the territory described in Chapter 11301, as being within the City boundaries. Duly authorized municipal bonds, to be paid by taxation of all taxable property in the city, were issued, validated, sold and used for authorized municipal public improvements, some *Page 379 
of which improvements were made in the area which embraces plaintiff's land. Afterwards, by quo warranto judgment, the city was ousted of authority over an area including plaintiff's land. Upon the principles stated and the authorities cited herein, the holding in this case is that the City of Winter Haven had and continues to have de facto jurisdiction and authority to appropriately tax plaintiff's land along with other lands described in Chapter 11301 to pay operating expenses of the city before the rendition of the judgment of ouster and also to pay the bonds, and that the decrees appealed from should be severally reversed, and the cause remanded for further appropriate proceedings by due course of law.
Reversed and remanded.
ELLIS, C.J., and TERRELL, BROWN, BUFORD, and CHAPMAN, J.J. concur.
                        ON PETITION FOR REHEARING